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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                   )
UNITED STATES OF AMERICA,          )
                                   )
            Plaintiff,             )
                                   )
VS.                                )                 CR. NO. 1:17-10067-STA
                                   )
DAVID MATHIS,                      )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on March 9, 2018, Assistant United States Attorney, Taylor Eskridge,
appearing for the Government and the defendant, David Mathis, appearing in person, and with counsel,
Lloyd Tatum.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for MONDAY, June 18, 2018 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant to remain on current bond.

       ENTERED this the 9th day of March, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
